        Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 1 of 62




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,              )
                                       )
                                       )
V.                                     )    CASE NO. 21-000250-001
                                       )
PHILLIP BROMLEY,                       )
                                       )
      DEFENDANT.                       )


       SENTENCING MEMORANDUM ON BEHALF OF PHILLIP BROMLEY

                                       Introduction

      This sentencing memorandum is being offered to this Honorable Court in an

effort to present a true and accurate representation of who Phillip Bromley is through

the eyes of those who know him best. Twenty-nine (29) character letters are attached

to this memorandum (Exhibit A), providing this Honorable Court with valuable

insight into the type of man Mr. Bromley is and what he means to so many. In

addition, this memorandum is offered to highlight Mr. Bromley’s early acceptance

of responsibility, cooperation with the government, and explain why a non-custodial

sentence is warranted in accordance with 18 U.S.C. § 3553(a).

      Phillip Bromley will soon come before this Court for sentencing. The

Sentencing Reform Act requires this Court to impose a sentence which is “sufficient,

but not greater than necessary”, to accomplish the various legitimate purposes of

sentencing. 18 U.S.C. 3553(a)(2).
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 2 of 62
        Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 3 of 62




      has happened, and I have spent several hours on the phone with him.
      Based on our conversations, it is my opinion that he is deeply
      remorseful for his actions. He has disengaged entirely from political
      discourse and he looks forward to getting an opportunity to turn this
      mistake into a positive learning experience; his desire is to continue to
      live out his calling and serve the people of Birmingham once again.

      - Words of James Alan Wood MSN, BSN, CRNA, former student and
        now co-worker of Mr. Bromley

             Application of the Statutory Factors to the Facts of this Case

Nature and Circumstances of the Offense and the History and Characteristics
of the Offender [ 18 U.S.C. § 3553(a)]

      The ultimate command of 18 U.S.C. 3553(a) is, after considering the

following factors, to impose a sentence that is “sufficient, but not greater than

necessary”, to comply with the purposes set forth in subsection (a)(2). This is the so-

called parsimony provision, which requires District Courts to impose the minimum

punishment needed to satisfy the purposes of sentencing; those being just

punishment, deterrence, protection of the public, and the rehabilitation of the

defendant. Likewise, this requires the District Court to consider Mr. Bromley and

his sentence based on those unique factors which come into consideration in this

particular case and involving this particular defendant.

      We respectfully submit the Court should consider those sentencing factors in

the following way:

             a. 18 U.S.C. 3553(a)(1) - Nature and Circumstances of the
                Offense
        Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 4 of 62




      Mr. Bromley entered a guilty plea to count two of the information to the

offense of Disorderly Conduct in a Capitol Building, in violation of Title 40, United

States Code, Section 5104(e)(2)(D). Mr. Bromley has seen the footage of his conduct

and is deeply embarrassed and ashamed. He is overcome with emotion that he

allowed himself to be caught up in the moment and that he acted without the

discipline that he strives to model every day.




      18 U.S.C. 3553(a)(1) - History and Characteristics of the Offender

      Phillip Bromley stands before this Honorable Court prepared to accept the

sentence that most appropriately fulfills the requirements of 18 U.S.C. § 3553(a).

Mr. Bromley is a forty-eight (48) year-old husband and father. He was born in
        Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 5 of 62




Birmingham, Alabama to Charles and Gladys Bromley. While Mr. Bromley had

loving parents, as a child he found himself in the middle of loud outbursts and

misunderstandings. His mother is deaf, and his father is hard of hearing, which made

communication an issue between his parents. A young Phillip was left to help them

communicate with one another.




                         Mr. Bromley has been an excellent father and cares deeply

for his family. He has a twenty-three (23) year-old daughter from a previous

marriage who is currently in the United States Navy, stationed in Guam.

      Mr. Bromley has been married to Emily Bromley since 2007. The two of them

have worked through the difficulties that Mr. Bromley faces being a survivor of

abuse and have sought counseling with their local church pastor to strengthen their
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 6 of 62




marriage. They have a four-year-old son together, E.B. Those that know Mr.

Bromley best describe him as dependable, honest, and caring.

      I have always known Phillip to be dependable, honest, courteous,
      responsible and always willing to step up to help others. We have
      attended the same church during this time and led/co-led a men’s bible
      study small group together for several years. I watched him grow as a
      leader and understand that he led a bible study small group with some
      of his work associates as well. Phillip served on the volunteer church
      team to provide first aid when needed. Phillip always had a passion for
      helping others in need and I think that he has proven that in his life
      professionally and personally.

      - Words from Benjamin Williams, friend of Mr. Bromley


      He has personally mentored my son, his nephew, for years and regularly
      encourages him as he is growing into young adulthood. For example,
      when my son turned 13, Phillip drove from out of town to spend the
      weekend with him, my husband and some other men to pour into my
      son, speaking to him about becoming a man and ensuring him that his
      uncle would always be in his corner. His words and thoughtful gift are
      something my son still speaks of and remembers. His encouragement
      has been invaluable.

      - Words from Amanda Reutter, Mr. Bromley’s sister-in-law.

      Phillip and I each have sons that are five days apart in age (born at the
      same hospital, in the same room, no less!). Through this fun dynamic,
      I have watched Phillip be a husband and father that inspires me. The
      way he speaks to his family, regardless of the circumstance, is not only
      touching, but also somewhat convicting to me. When I’ve heard their
      conversations, they are continually laced with tenderness, love, and a
      significant depth of compassion.

      - Words from friend, Brian B. Thach

      Despite the unimaginable abuse suffered as a young child, Mr. Bromley has
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 7 of 62




strived to be a productive member of society and to help those in need. He was

enlisted in the US Army Reserves from 1993-1999. He received his nursing license

in 1995 and then went to Auburn and received his bachelor’s degree in 2005. Mr.

Bromley was also in the National Guard as a medic from 2002-2006. He then

received his master’s degree in nurse anesthesia from University of Alabama –

Birmingham in 2010, as well as his CRNA license. He is certified in Pediatric

Advanced Life Support, Basic Life Support, and Advanced Cardiovascular Life

Support.

      After receiving his CRNA license, Mr. Bromley worked for Princeton Baptist

Medical Center in Birmingham, Alabama until 2021. While there, he had a

tremendous impact on his co-workers and those patients that he treated, becoming

the Chief CRNA at the hospital.

      Phillip is clearly the best trained, best prepared, most dedicated and
      mature CRNA with whom I have had the privilege to work throughout
      my years as a surgeon.

      - Words from Dr. Michael A. Drummond

      Once I even had a surgeon become upset at me because Phillip wasn’t
      assigned to work in his operating room every single day. “Dr. Johnson”,
      he said “In my opinion, every nurse anesthetist needs to ask one
      question while they are in my room – ‘WWPBD’- What would Phillip
      Bromley do?”

      - Words from physician anesthesiologist Philip Johnson, MD

      Phillip and I have personally taken care of thousands of critically ill
      patients in the most medically underserved and impoverished area of
 Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 8 of 62




Birmingham. I have witnessed his compassion, kindness and
commitment to his patients in the most stressful and daunting
situations. His dedication to protecting his patients and in supporting
his colleagues is beyond reproach. Phillip’s remarkable character led
him to be appointed as the chief nurse anesthetist of our division as well
as the head clinical instructor responsible for training future nurse
anesthesia students. One of his greatest qualities is his strong sense of
duty and honor which I believe he derives from his exemplary military
service as well as his unwavering Christian faith. In summary, I have
come to know Phillip as a selfless protector and I would take comfort
to see him watching over me or my family in a time of need.

- Words from Dr. Arpan J. Patel, Mr. Bromley’s former employer.

He is fondly thought of by all his peers, not only in the anesthesia
department, but throughout his workplace. Phillip is meticulous in
patient care. Every patient in he encounters receives individual respect.
He is a true advocate for every single individual in his care. The
surgeons and staff have all witnessed the latter, creating a sense of
confidence for the care that each of the patients receive at our facility
that Phillip has the opportunity to care for.
- Words from Mr. Bromley’s former co-worker and friend, Brittany
  Denson, CRNA, MSN, RN.

He has been an incredible asset in our department. He has been our
chief nurse anesthetist for the past few years. This was quite an honor
and not one we put on someone lightly. A Chief has to demonstrate
excellent character, dependability, empathy, integrity, and
adaptability. One has to be able to work well with others and manage
a plethora of personalities. Phillip did a phenomenal job in earning and
maintaining the respect of his colleagues. Outside of our work
relationship, Phillip is the type of man that I would call first if I truly
needed help. I count him as a dear friend. He is dependable. He cares
deeply for others. He has integrity.

- Words form Dr. Robert Thornton, physician anesthesiologist and
  longtime co-worker of Mr. Bromley
Due to his actions on January 6, 2021, Mr. Bromley was forced to leave his
        Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 9 of 62




job at Princeton Baptist that he cared deeply about. Due to being out of work for

much of 2021, he lost over $100,000 in income. Since that time, he has begun work

in a small rural community hospital, roughly an hour and a half from his home and

has immediately become irreplaceable.

      Russell Medical is a smaller community hospital in rural Alabama and
      provides surgical services to a four county area. Phillip is an integral
      part of our surgical/anesthesia department and his absence would
      impact our ability to deliver timely and appropriate care.
      - Words from Dr. George Nelson Cooper. Jr., chief anesthesiologist
        at Russell Medical Center
      Mr. Bromley hopes to continue working at Russell Medical, located an

hour outside of Birmingham, AL, and to provide excellent patient care to a

very underserved community.

      The Need for the Sentence Imposed to Promote Certain Statutory
      Objectives [18 U.S.C. § 3553(a)(2)]

      18 U.S.C. 3553(a)(2) directs the Court to consider the need for the sentence

imposed (A) to reflect the seriousness of the offense, to promote respect for the law,

and to provide just punishment for the offense; (B) to afford adequate deterrence to

criminal conduct; (C) to protect the public from further crimes of the defendant; and

(D) to provide the defendant with needed educational or vocational training, medical

care, or other correctional treatment in the most effective manner.

      First, with regard to the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, and to provide just
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 10 of 62




punishment for the offense, the defendant asserts that a non-custodial sentence is

more than adequate to meet those needs. Mr. Bromley was forced to leave a job that

he worked hard for and loved as a result of his actions. When combined with the

national attention resulting in shame and humiliation, a non-custodial sentence is

adequate to reflect the seriousness of the offense, promote respect for the law, and

to provide just punishment.

      Second, with regard to the need for the sentence imposed to provide adequate

deterrence and protect the public from further crimes of the defendant, this Court

should find a non-custodial sentence is sufficient to protect the public and to deter

further criminal conduct on the part of Mr. Bromley. Before this, Mr. Bromley had

never been in contact with Law Enforcement and had no criminal history. Since

January 6th, Mr. Bromley has actively taken steps to get his life on the right track,

resuming work, taking care of his family, and continuing counseling sessions. This

Honorable Court can rest assured that Mr. Bromley will resume being a law-abiding

member of society, as he was his entire life until January 6th and since this incident

took place.

      Third, with regard to the need for the sentence imposed to provide the

defendant with needed educational or vocational training, medical care, or other

correctional treatment in the most effective manner, the Court should find the

sentence to be imposed does not require any particular terms and conditions under
        Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 11 of 62




this section.

       Fourth, many believe the longer the sentence, the greater the deterrent effect

on the individual. However, empirical research shows no relationship between

sentence length and deterrence. Numerous studies have found that “deterrence

works,” in the sense that there is less crime with a criminal justice system than there

would be without one. However, the findings are uniformly negative in that there is

no evidence that longer sentence lengths reduce crime through deterrence. 2

Empirical research on general deterrence shows that while certainty of punishment

has a deterrent effect, “increases in severity of punishments do not yield significant

(if any) marginal deterrent effects.” 3

       Researchers have also found an increased likelihood that lower-risk offenders

will be more negatively affected by incarceration. 4 With a non-custodial sentence,

Mr. Bromley avoids the risk of becoming institutionalized and losing his contacts in

the community.

       Therefore, a non-custodial sentence imposed by this Honorable Court will

send the appropriate message loud and clear and serve as an adequate deterrent.

       18 U.S.C. § 3553(a)(3) and (a)(4)-
       The Kinds of Sentences and Advisory Sentencing Guidelines Range


2
  Sentencing By the Statute by Amy Baron-Evans, April 27, 2009 (revised 12/21/10).
3
  Id.
4
  Paul Gendreau, Claire Goggin, and Francis T. Cullen, “The Effects of Prison Sentences on
Recidivism,” Ottawa, Ontario, Canada: Public Works and Government Services Canada, 1999.
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 12 of 62




      As to 3553(a)(3) and 3553(a)(4), the Court considers both the statutory range

of punishment and the advisory guidelines calculations as correctly calculated by the

United States Probation Office.

      The U.S. Probation Office has calculated the advisory sentencing guidelines

in this matter and determined the total offense level to be a 10, when combined with

a criminal History Category of I, results in a guideline range of 6-12 months.

      Mr. Bromley maintains his objections to the obstruction enhancement, and

once removed his offense level is an 8, with a corresponding guideline sentencing

range of 0-6 months.

      Although the United States Sentencing Guidelines are to be considered, they

cannot be substituted for this Court’s independent determination of an appropriate

sentence, including all the § 3553 factors. See Nelson v. United States, 555 U.S. 350,

352 (2009) (“Our cases do not allow a sentencing court to presume that a sentence

within the applicable Guidelines range is reasonable …. The Guidelines are not only

not mandatory on sentencing courts; they are also not to be presumed reasonable);

See also Spears v. United States, 555 U.S. 261, 263-64 (2009). As explained by the

Supreme Court in Rita, while the Guidelines are the starting point, they “are not the

only consideration.” Rita v. United States, 551 U.S. 338, 347-348; Gall v. U.S., 552

U.S. 38, 47 (2007). All the § 3553(a) factors are to be considered and the judge “may

not presume that the Guidelines range is reasonable.” Id. at 351. “[The Judge] must
          Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 13 of 62




make an individualized assessment based on the facts presented.” Gall, 552 U.S. at

50.

         Applying the facts of this case and this Defendant, it is clear that a non-

custodial sentence would meet the needs of sentencing as pronounced in the §

3553(a) factors.

         18 U.S.C. § 3553(a)(6) - The Need to Avoid Unwarranted Sentencing
         Disparities
18 U.S.C. 3553(a)(6) directs this Court to consider “the need to avoid unwarranted

sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” A non-custodial sentence as requested in this

memorandum would not create any unwarranted disparities to cases with similar

facts.

         Previous sentences imposed on other defendants who plead guilty to the

same offense support a non-custodial sentence to ensure uniformity in sentencing.

For example, in United States v. Bustle, 21-CR-0238(TFH), the defendants were

sentenced to 24 months of probation. In United States v. Morgan Lloyd, 21-CR-

0164(RCL), the government recommended probation and Judge Lamberth

sentenced Morgan Lloyd to 36 months of probation. Brandon Straka in 1:21-cr-

579-DLF was sentenced to home detention, as was Brittany Dillon in 1:21-cr-360-

DLF. These cases are similar to the instant matter.

         Cases in which incarceration was given for the same offense as Mr. Bromley
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 14 of 62




involve substantially different conduct than that of Mr. Bromley. For example, in

1:21-cr-148-JEB and 1:21-cr-467 the defendants together scaled a wall to enter the

Capitol. 1:21-cr-148-JEB, Doc. 25 Pg 4-5. The defendants then walked upstairs,

and one even went inside the Speaker’s conference room. The two spent nearly 40

minutes inside of the Capitol. Id. at 8. They were sentenced to 45 days

incarceration. Id. In sharp contrast, Mr. Bromley walked through an unlocked door

and spent less than 10 minutes inside the capitol.

      A sentence of probation would also be consistent with the nature and

circumstances of the offense, and the history and characteristics of the defendant.

      It is clear that uniformity in sentencing across the Country remains an

important consideration in sentencing. Avoiding unwarranted sentencing disparities

is to ensure punishment remains consistent. Sentencing Mr. Bromley to a non-

custodial sentence would ensure there are no sentencing disparities.

                                        Conclusion
      Undersigned counsel submits that an appropriate sentence would be a non-

custodial sentence with such terms and conditions as the Court deems necessary. A

term of probation is a substantial restriction on Mr. Bromley’s freedom. “Inherent

in the very nature of probation is that probationers ‘do not enjoy the absolute liberty

to which every citizen is entitled.” United States v. Knights, 534 U.S. 112, 119

(2001) (quoting Griffin v. Wisconsin, 483 U.S. 868, 874 (1987). He will no longer
          Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 15 of 62




be able to change or make decisions about where he lives or works without first

seeking authorization from his Probation Officer. Gall v. U.S., 552 U.S. 38, 44

(2007).

       Therefore, a non-custodial sentence would be appropriate under the

circumstances of this case and would substantially meet the needs of sentencing as

pronounced in 18 U.S.C. 5335(a).


                                                     RESPECTFULLY SUBMITTED,

                                                     l/s Richard S. Jaffe
                                                     RICHARD S. JAFFE

                                                     l/s Michael W. Whisonant, Jr.
                                                     MICHAEL W. WHISONANT, Jr.

OF COUNSEL:
JAFFE, HANLE, WHISONANT & KNIGHT, P.C.
2320 ARLINGTON AVENUE SOUTH
BIRMINGHAM, AL 35205
205-930-9800

                                CERTIFICATE OF SERVICE

       I do hereby certify that I have on this the 26th day of April 2022 served a copy of the
foregoing by electronically filing to all parties involved.

                                                     l/s Michael W. Whisonant, Jr.
                                                     MICHAEL W. WHISONANT, Jr.
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 16 of 62




                   EXHIBIT A
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 17 of 62




                                 Amanda A Reutter


                                    April 13, 2021

The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

             Re:    United States v. Phillip Bromley
                    Case No.   1:2021cr00250

Dear Judge Friedman:

      I understand Phillip Bromley will be coming before you in the near future for
sentencing. I do not know much about the case, but I have known Phillip for over 15
years. You see, Phillip is my brother-in-law and one of the kindest, most responsible
and loving people I know.

       His attorney suggested that my writing to you might be of some benefit in the
overall disposition of his case, and so I am writing to express how strongly I feel that
Phillip is worthy of your favorable consideration.

        Judge, Phillip is worth saving. He is a highly respected, upstanding member
of his church and community. He is respected and looked-up to by his colleagues and
friends. He has personally mentored my son, his nephew, for years and regularly
encourages him as he is growing into young adulthood. For example, when my son
turned 13, Phillip drove from out of town to spend the weekend with him, my husband
and some other men to pour into my son, speaking to him about becoming a man and
ensuring him that his uncle would always be in his corner. His words and thoughtful
gift are something my son still speaks of and remembers. His encouragement has
been invaluable. This could be said of my other three children as well. He is consistent
to teach my children practical outdoor skills such as fishing, camping, and
identification of items in nature every time they are together. They all adore their
“Uncle Tito”.

       He has raised one son and is currently raising another who needs him every
day of his life. He is an excellent, involved father and husband who loves and supports
his family like none other. He is teaching his son, by his daily presence, that he is
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 18 of 62




loved and valued. He is raising him to be kind, respectful, and thoughtful; a man of
integrity just like he raised his first son who is now a Navy Corpsman. His older son,
who I’ve known for most of his life, shows by his character what a wonderful father
Phillip was and is to him and his younger son deserves the same benefit from his
father’s daily presence in his life. He is a loving and supportive husband and my sister
needs him.

       He contributes to the well-being of others in his role as a nurse anesthetist and
as a leader in his own family. I have frequently been told that surgeons he works
with respect him, his knowledge and work ethic as well as enjoying him as a co-
worker. I really do not believe that it would be a benefit to society to incarcerate him
for any period of time under the circumstances. I know that he wants and needs to
support his family, financially, but also emotionally and spiritually. I know he is
truly sorry for the circumstances which have brought him before you and I do not feel
he needs rehabilitation, deterrence, or excessive punishment. My hope is that you
will see fit to consider him for leniency and mercy.

       I would welcome an opportunity to discuss this matter with you at length, but
the distance and the expense are substantial. However, if you would prefer to see
me, I will try to make arrangements to come and testify on his behalf. Perhaps this
letter will be an indication of my feelings and knowledge of Phillip.
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 19 of 62




                                Benjamin Williams

                                      4/18/2021

The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

             Re:    United States v. Phillip Bromley
                    Case No.   1:2021cr00250

Dear Judge Friedman:

      I understand Phillip Bromley will be coming before you soon for sentencing. I
hope that you will accept this letter from me to attest to Philip’s character.

       I have known Phillip for over 10 years. Our wives introduced us, and we have
been close friends ever since. I have always known Phillip to be dependable, honest,
courteous, responsible and always willing to step up to help others. We have attended
the same church during this time and led/co-led a men’s bible study small group
together for several years. I watched him grow as a leader and understand that he
led a bible study small group with some of his work associates as well. Phillip served
on the volunteer church team to provide first aid when needed. Phillip always had a
passion for helping others in need and I think that he has proven that in his life
professionally and personally. He has always shown a love for his country and hoped
that his son would serve in the military. I watched him raise his son, Mitchell, who
is now serving his country in the Navy and in the medical field. I truly believe that
Phillip’s love of his country and his passion to help and heal people was transferred
to his son and that legacy is being lived out today.

        His attorney thought that writing to you may benefit Phillip in the disposition
of his case.

       Judge, Phillip Bromley is worth saving. I strongly believe that there would be
no benefit to society in having him incarcerated for any length of time under his
circumstances. He wants and needs to provide support for his wife and young son. I
have personally witnessed how truly sorry he is that any of this happened. I do not
believe that he needs any kind of rehabilitation or excessive punishment. I trust that
you will witness Phillip’s character during these proceeding and hope that you will
consider leniency and mercy for Phillip and his family.
 Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 20 of 62




Thank you for your consideration.


      Benjamin Williams
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 21 of 62
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 22 of 62
         Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 23 of 62
March 5, 2021


To whom it may concern:

I have known Phillip Bromley for ten years. I have had the opportunity to witness him in many settings
and different roles through the years. Phillip and I began working together at Princeton Baptist Medical
Center in 2011 as peer nurse anesthetists in the anesthesia department. Phillip is an extremely
competent anesthesia provider as evidenced by his ability to regularly provide care in the the most
difficult and acute cases in the operating room, with good patient outcomes. He is fondly thought of by
all his peers, not only in the anesthesia department, but throughout his workplace. Phillip is meticulous
in patient care. Every patient in he encounters receives individual respect. He is a true advocate for
every single individual in his care. The surgeons and staff have all witnessed the latter, creating a sense
of confidence for the care that each of the patients receive at our facility that Phillip has the opportunity
to care for.

        After several years as a staff nurse anesthetist, Phillip took on his first leadership position with
the department as student and education coordinator. He enjoyed pouring into the future of our
profession. His respectfulness, fairness, effort, professionalism and kindness were given to every student
that came under his tutelage. These attributes were even acknowledged by his former students as he
was awarded Outstanding Clinical Preceptor, which is voted on directly by students. After several years
as student coordinator, Phillip asked me to assume the position as he would be transitioning to one of
our departmental chief roles. Phillip was a fantastic mentor as I learned to navigate my new role. He
provided guidance and encouragement more times than I can count. For this, I am grateful to him.

        Upon entering the department chief role our morale took a boost during a stressful and looming
time, as the former chief held the role for more than 10 years. Phillip brought amazing energy to the
position. As a department leader, he was competent, determined, organized, professional, hard-
working, fair, and encouraging. Honorable. I could not think of a better boss to work under.

         Through the years, Phillip and his wife have become more than co-workers; they are friends and
at one time church family. Phillip Bromley is steadfast in his love for the Lord and as a result, his love for
others. Integrity, purposeful, hard-working, determined, genuine, and generous describe this man. He
has proudly served this great country and defended our people and lands overseas. I would even say his
time as an Alabama National Guardsman and in the Army Reserves defines part of him; Strong, dutiful,
hardworking, and service for others. He truly feels convicted to speak for those who cannot speak for
themselves and encourages others to do so as well. It has been an honor and privilege to work with him
for the years that I have. I am blessed to call him a friend.



Many thanks for you time.



Sincerely,




Brittany Denson, CRNA, MSN, RN
        Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 24 of 62




                                       Caleb D. Richardson

                                          April 20, 2021

The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue N.W.
Washington, D.C. 20001


                              Re: United States vs. Phillip Bromley
                                   Case No. 1:2021cr00250


Dear Judge Friedman:

         My name is Caleb and I have been a Certified Registered Nurse Anesthetist (CRNA) for
the last year. Prior to that, I was a Registered Nurse in the ICU for over 5 years. It is my
understanding that my friend Phillip Bromley will be appearing before you in the near future for
sentencing. While I do not know much about his case, I do know the type of man he is. I have
known Phillip very closely for over eight years, as we have worked together at the same
institution in Birmingham, AL. During my years of working alongside Phillip, as well as in
collaboration with him, I have gotten to know and trust this man with all that is in me. His
attorney conveyed that perhaps this letter on Phillip’s character might help with determining of
the disposition of this case at hand.
         Judge Friedman, Phillip Bromley is the man who many others look to for guidance.
Whether it be coworkers, family, friends, or even strangers, they all see the type of man he is. It
is with clear eyes and a full heart that I tell you I strive to be half the man Phillip has been to
everyone around him. Phillip has a servant’s heart and I have witnessed it firsthand with him in
the operating room. I have watched him calm the anxious patients and family members prior to
surgery. I have watched him pray for every single patient he puts to sleep and that God guide his
skill set as well as give him a clear and focused mind to the task at hand. Speaking more on his
servant’s heart, Phillip was set on serving his country during times of need. He was an active
U.S. Army soldier for over ten years. Phillip and I were both members of the 75th Combat
Support Hospital out of Tuscaloosa, AL. Something my father instilled in me is that there is no
greater character in a man than one who is willing to serve his country as well as his family,
which brings me to my next point. Phillip is a man who loves and supports his family on every
level, including financially, emotionally, and spiritually. I have watched this man influence
hundreds of lives in a positive manner, including myself and all of his family members. For one
to know Phillip Bromley, means that one knows family. Every single member of the Bromley
family depends on this man for a number of reasons. While I do not know all the details of a
certain event previously this year, I do know that I have never once witnessed Philip act out of
his normal character regardless of the situation. I do not personally feel that Phillip needs any
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 25 of 62
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 26 of 62
          Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 27 of 62



Dear Judge Friedman,




My name is Robert D. Thornton, M.D. I have known Phillip Bromley for over ten years.

I am a physician anesthesiologist and Phillip has worked as a nurse anesthetist in my department during
that time.

He has been an incredible asset in our department. He has been our chief nurse anesthetist for the past
few years. This was quite an honor and not one we put on someone lightly.

A Chief has to demonstrate excellent character, dependability, empathy, integrity, and
adaptability. One has to be able to work well with others and manage a plethora of
personalities. Phillip did a phenomenal job in earning and maintaining the respect of his colleagues.

Outside of our work relationship, Phillip is the type of man that I would call first if I truly needed help. I
count him as a dear friend. He is dependable. He cares deeply for others. He has integrity.

I’m not defending his error in judgement of being involved in the events of early January.

I believe with all my heart that he is of tremendous value to his family, his friends, and his community. I
believe this because I’ve seen and experienced the type of man and friend he is on almost a daily basis
over the past decade.




Sincerely,




Robert Thornton, M.D.
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 28 of 62
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 29 of 62
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 30 of 62




                           Forrest Bradford Sheffield

                                   April 18, 2021

The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

             Re:   United States v. Phillip Bromley
                   Case No.   1:2021cr00250

Dear Judge Friedman:

      I understand Phillip Bromley will be coming before you in the near future for
sentencing. I do not know much about the case, but I have known Phillip from my
association with him for over eleven years. I have worked with Phillip since 2011
and have become dear friends with him and his family.

      His attorney suggested that my writing to you would be of some benefit to the
overall disposition of his case.

       Judge, I feel that Phillip is deserving of grace and a favorable decision on
your behalf. There would be zero benefit to society for Phillip to be incarcerated. I
know that he is committed to his family and takes great pride in supporting them.
This has been an extremely difficult time for him and he has shown great strength
and humility. I know without a doubt that he is truly sorry for his actions. I do not
feel he needs rehabilitation, deterrence, and excessive punishment. I pray that you
will see fit to consider him for leniency and mercy.

       I would welcome an opportunity to discuss this matter with you at length, but
the distance is so great and the expense is substantial. However, if you would
prefer to see me, I will try to make arrangements to come and testify on his behalf.
Perhaps this letter will be an indication of my feelings and knowledge of Phillip.




             Forrest Bradford Sheffield
         Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 31 of 62




The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U. S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N. W.
Washington, DC 20001

April 8, 2022

                Re: United States v. Phillip Bromley
                      Case No. 1:2021cr00250

Honorable Paul L. Friedman:

I write in support of Phillip Bromley and request the court’s leniency and compassion in this
matter. Neither I nor Phillip support the actions that resulted in law enforcement involvement
in this situation.

I am chief anesthesiologist at Russell Medical Center and a partner in Anesthesia Services of
Birmingham, Phillip’s employer. We hired Phillip almost one year ago, knowing his legal
matters were unresolved. He received glowing recommendations from his previous employer
and others we contacted regarding his history, temperament and professionalism. Phillip has
met and exceeded our hopes and expectations. He has proven to be an outstanding anesthetist
but, more importantly, an outstanding citizen and person. He provides not only great medical
care, his upstanding character is evident to all associated with him.

Russell Medical is a smaller community hospital in rural Alabama and provides surgical services
to a four county area. Phillip is an integral part of our surgical/anesthesia department and his
absence would impact our ability to deliver timely and appropriate care. But, more than that, I
have seen Phillip’s depth of character, compassion and commitment. Phillip needs to be here
taking care of our patients and his family. I sincerely hope the court agrees. I am happy to
discuss further or assist however possible. Thank you.

Respectfully,


George Nelson Cooper, Jr. MD
256-496-4496
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 32 of 62




                                     Jami Smith

                                       4/17/2021


The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

             Re:    United States v. Phillip Bromley
                    Case No.   1:2021cr00250

Honorable Judge Friedman:

       I am writing on behalf of Phillip Bromley. I have recently been made aware
he will be coming before you in the near future for sentencing. I am not fully informed
to the specifics of his case, but I have known Phillip in a professional capacity for
close to three years. My first encounter with Phillip occurred as an anesthesia student
under his mentorship and guidance. Having years of experience in healthcare myself,
I was captivated by the level of compassion, professionalism, and leadership he
contributed to our community hospital.

      As a suggestion from his attorney to the overall disposition of his case, I am
hoping my insight of the character I witnessed could be beneficial. The consistency
and conviction in his care for the community and his anesthesia team eventually led
me to pursue a position at the same hospital. His leadership skills are unrivaled by
any previous management for which I have ever worked. He is fair, genuine, honest,
and openly considered all concerns brought before him. In addition to his
management skills, I observed a loving father and husband. The way Phillip spoke of
his family and God truly inspired me, inspired his coworkers, and inspired his
patients. I implore you to consider leniency and mercy for him, as I know that he
belongs at home with his family, and at a place of work where he can continue to
touch the lives of patients and staff alike. He has truly lived a life of service: to his
country and to the community.

       I ask that you consider the years of character that I have personally witnessed,
and the immense number of lives that Phillip has personally had an impact on. He is
a man that has garnered admiration and trust from those that have spent the most
time with him over the years. Our work family misses him, his family needs him, and
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 33 of 62




his patients deserve him. I have seen him give many others a second chance, I pray
that you will also extend this grace to him.



            Jami Smith
         Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 34 of 62

                                         JAMES A. WOOD
                            2510 Genoa Way Apt 412 Birmingham, AL 35243
                                           (205) 601-0503
                                        Jwoodbsn@gmail.com



                                           April 11, 2021


The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001


Dear Judge Friedman,


       I have worked alongside Phillip as a Certified Registered Nurse Anesthetist (C.R.N.A.)
for the last two years at Princeton Baptist Medical Center; prior to that, I worked with Phillip as
a student nurse anesthetist while I was at Samford University. As you may know, Phillip led our
nurse anesthetists from before the time of my hiring up until this year’s events at the capitol.
Phillip first qualified himself to be our Chief C.R.N.A. because of his experience and excellence
in practice. What ultimately earned him the position was his leadership ability, integrity,
selfless sacrifice, and devotion to advocacy for our patients.

       Before describing who Phillip is to Princeton and what he means to our team, please
allow me to tell you how he has personally affected my life. Besides being a tremendously
gifted teacher, mentor, and guide for numerous students over the years, Phillip advocated for me
when few others would. As a student nurse anesthetist, I made a serious mistake in the clinical
portion of my education; this mistake occurred around a time of immense familial turmoil. My
conceited and careless response was to continue to practice anesthesia despite being sleep
deprived and frequently distracted from my responsibilities. Since word-of-mouth travels fast in
the medical community of a smaller city, this issue followed me after I atoned for my mistake
and graduated from my program.

       During the interview process at Princeton, Phillip came to my defense. With our
anesthesiologists, Phillip attested to my abilities as a nurse anesthetist. He believed that the
         Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 35 of 62




mistake I made was not rooted in ignorance or a knowledge deficit, but it was a case of poor
judgement and decision-making. He argued that this one mistake should not define my career
moving forward, and because of his recommendation, I am currently on staff and taking call at
Princeton.

       Phillip has an honorable military background that has taught him how to lead by
example, with excellence. In fact, he was one of our most proficient anesthetists; he specialized
in providing anesthesia for complex vascular surgeries on patients with numerous comorbidities
but could provide anesthesia for any surgery at any time. Additionally, Phillip took weeknight
and weekend call for us. He sacrificed time with his wife, Emily, and son, Owen, to help make
up for staffing deficiencies and meet the needs of our team. As a further illustration, any
necessary changes that Phillip asked us to make to our individual anesthetic practice, he
implemented first; He never asked us to do anything that he was not willing to do himself.

       As nurses, we are the last line of defense safeguarding our patients from potential harm;
our paramount responsibility will always be to advocate for the best interests of our patients.
Phillip had the courage to stand up for our patient’s best interests while balancing these needs
with the demands of other parties in the hospital. He was able to be firm when needed, but could
also work to diplomatically solve problems with surgeons, administration, operating room staff,
etc. Phillip’s integrity and virtues are anchored in his Christian faith. He believes that he has
been called to serve the people of Birmingham and he tries to treat others as his Lord Jesus
Christ would treat them.

       As a group, I can decidedly say that Phillip’s actions during the “Save America” riot
caught my coworkers and I off-guard. We could not have envisioned a scenario in which Phillip
would allow himself to be associated with a destructive and disorderly mob. It was even more
difficult for us to believe that he continued marching with this mob as they broke through
multiple barricades en route to breaching and destroying the capitol building. What he was a
part of in Washington D.C. that day is not an accurate representation of his character or the
values that govern his life and decision-making. Since that day, Phillip has had time to process
all that has happened, and I have spent several hours on the phone with him. Based on our
conversations, it is my opinion that he is deeply remorseful for his actions. He has disengaged
entirely from political discourse and he looks forward to getting an opportunity to turn this
         Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 36 of 62




mistake into a positive learning experience; his desire is to continue to live out his calling and
serve the people of Birmingham once again.

       As you continue to become acquainted with Phillip through this process, I trust that what
is described in this letter will be in alignment with your personal observations. Phillip is an
honorable man with high character; the poor judgment and decision-making that he displayed on
January 6, 2021 is uncharacteristic of who he truly is. The mistakes he made on that day do not
define him, just as my past mistakes do not define me. He still has a bright future ahead; the city
of Birmingham needs Phillip Bromley back.



       With sincerity and respect,

               James Alan Wood, MSN, BSN, CRNA
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 37 of 62
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 38 of 62




                             Joseph Spencer Handley

                                    April 20, 2021

The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

             Re:    United States v. Phillip Bromley
                    Case No.   1:2021cr00250

Dear Judge Friedman:


       My name is Spencer Handley and I have worked as a Certified Registered
Nurse Anesthetist (CRNA) in Birmingham, Alabama for the last 5 years. I have come
to understand that my friend, professional colleague, and mentor Mr. Phillip Andrew
Bromley will be appearing before you in the future for sentencing related to a past
offense. I in no way claim to know the specifics or details related to the case at hand,
however, I can without hesitation provide you with an accurate representation of
Phillips true character and moral standard. His attorney suggested that my writing
to you and articulating the aforementioned character might have some form of impact
regarding the overall outcome of his case.

       Prior to my professional entrance into the field of anesthesia I sought out many
CRNAs to truly understand what the profession entailed. Phillip was the one person
who took an interest into my future through mentoring, providing me with shadow
opportunities, and providing overall encouragement. After my completion of
anesthesia school, I chose to work alongside many of the professionals I sought advice
from, but mainly because I knew the character and integrity Phillip Bromley
possesses, and if he chose to work in a certain location and/or environment that is
where I wanted to be. Shortly after my professional career began, Phillip was
promoted to our Chief CRNA. He oversaw a department of roughly 20-25 highly
successful CRNAs, and he handled this flawlessly. As I am sure you understand,
being the chief or manager of any department is full of conflict resolution and
advocacy on behalf of your peers. I am not sure there was a person more uniquely
gifted to take ownership of this role and do it with the professionalism and respect
that Phillip displayed. Phillip is highly respected in not only the operating room, but
throughout the hospital. I have had discussions with many Physicians, and other
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 39 of 62




healthcare providers, regarding Phillip’s character and his ability to provide care for
patients. Personally, I continue to learn from this man, because he has an immense
respect for authority, is fair and rationale, and is a devoted father and husband. My
Christian faith is my guiding principle in life. Phillip, who is alco a practicing
Christian, has exemplified his faith and incorporated these traits into his care for his
not only his patients, but also everyone he encounters everyday. He has led countless
bible discussion groups at the hospital, taken up donations for multiple staff members
when they were enduring difficult circumstances, and provided prayer and
compassion to many in the workplace as well as the community. Phillip and I have
been friends outside of work dating back roughly 7-8 years. We have been fishing
together, had family meals together, and worked alongside one another in the most
intense of circumstances. Not once have I seen this man display anything short of
exemplary character.

       Judge Friedman, I do not pretend to understand the actions or thought
processes that took place earlier this year. However, I can unequivocally state that
those actions were completely unrelated to the nature and moral composition I have
come to know of Phillip Bromley. It is my opinion that under the circumstances it
would be of absolutely no benefit to incarcerate him for any length of time. I genuinely
believe that Phillip has had time to reflect on his actions and recognize his error in
judgement. While that may not constitute justice in the eyes of some, when you
possess the moral fabric of this man, it does more than any period of incarceration
could ever do. Phillip has a family who depend on him not only financially, but also
emotionally, and as the religious leader of his home. I humbly ask that you extend
mercy his way for this momentary and uncharacteristic lapse in judgement.

       My professional career working in an operating room creates an often changing
and at times rigid work schedule. With that said, I welcome the opportunity to meet
with you and discuss any of these matters further if you so choose. I am prepared to
testify on Phillip’s behalf, if necessary, and would do so without pause. My hope is
that this letter elucidates the moral and ethical fabric that make up Phillip Bromley.
He has my deepest respect and admiration as a father, husband, professional
colleague, and friend.

      Thank you for your time and consideration.

      Sincerely,


      Joseph Spencer Handley
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 40 of 62




      I understand Phillip Bromley will be coming before you in the near future for
sentencing. I do not know much about the case, but I have known Phillip from my
association with him for over ____________ years. [Explain how you know the
defendant and any relationship with the defendant.]

      His attorney thought/suggested that my writing to you might be of some
benefit in the overall disposition of his case, etc.

      Judge, ("He is worth saving", or words that convey your feelings that he/she is
worthy of favorable consideration by the Judge). I really do not believe that it would
be a benefit to society to incarcerate him/her for a long period of time under the
circumstances. I know that he/she does want to and needs to support his/her family.
I know he/she is truly sorry for and do not feel he/she needs rehabilitation, deterrence,
and excessive punishment. I hope (trust, wish, etc.) that you will see fit to consider
him/her for leniency and mercy.

       I would welcome an opportunity to discuss this matter with you at length, but
the distance is so great and the expense is substantial. However, if you would prefer
to see me, I will try to make arrangements to come and testify on his/her behalf.
Perhaps this letter will be an indication of my feelings and knowledge of [defendant].


             Your signature

DO NOT COPY THIS LETTER, PUT IN YOUR OWN WORDS. THANK YOU.
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 41 of 62
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 42 of 62
         Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 43 of 62



                                          Michael Antonetti
                                           April 20, 2021

The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

                           Re:     United States v. Phillip Bromley
                                     Case No. 1:2021cr00250

Dear Judge Friedman,

I am aware that Phillip Bromley will soon have a hearing regarding his sentencing in the case listed
above. I unaware of all the details regarding the case, but I have had a close working relationship
with Phillip for nearly seven years. I am an anesthesiologist and practicing partner of Southern
Anesthesia Management in Birmingham, Alabama, and Phillip was the Chief CRNA for our group at
Princeton Baptist Medical Center. Phillip may have suffered from a lapse of judgement, but I can
assure you, Phillip never intended to do harm to anyone, or anything, and he is no threat, in any
way, shape, or form, to society.

Your Honor, I can comfortably and confidently say without reservation that Phillip is one of the
finest men I have met in my entire adult life. Phillip, as both a person and as a professional, is an
unrivaled embodiment of the passion for service. Phillip works as hard to treat people with respect,
and to comfort them in their most vulnerable of times, as he does to save their lives in the OR.
Phillip excels clinically, while selflessly leading a group of 20+ highly trained anesthetists. He has
proudly served our country. He is a strong man of Faith who leads small groups in his local church.
He is a role-model for every student nurse anesthetists he teaches, and a prime example of what
every CRNA should strive to become.

I know Phillip is very truly sorry for, embarrassed by, and ashamed of his actions. No one is harder
on their self than Phillip. Phillip needs to be with his family. Phillip needs the opportunity to take
care of people. He needs to continue to teach people, to lead people, and his position in society allows
him the gift of a greater reach. The tough lessons he has learned through this event would be much
better served out in the field, rather than in a detention facility. I hope and pray that you will be
able to consider Phillip, Phillip’s heart, and the context provided by the terribly confusing state of
our country, to judge Phillip in light of what great potential benefit he could provide to his local
community, fully understanding what society may lose with him incarcerated or incapacitated by
excessive punishment, and how little there is to ultimately gain in falling to the aforementioned.

I would welcome an opportunity to discuss the specifics of this matter with you at length, but the
distance is great, and the expense is substantial. Perhaps this letter can serve as indication of my
feelings and knowledge of Phillip. If anything else is needed from me in support of Phillip, please do
not hesitate.

Sincerely,




Michael Antonetti MD
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 44 of 62
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 45 of 62




                              MICHAEL D. MASON


                                      4/19/2021

The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

             Re:   United States v. Phillip Bromley
                   Case No.   1:2021cr00250

Dear Judge Friedman:

      I understand Phillip Bromley will be coming before you in the near future for
sentencing. I do not know much about the case, but I have lived next to and been
friends with Phillip for over 7 years. My wife and I moved next door to Phillip in the
summer of 2014. The first time I saw him, he was in his backyard with his oldest
son and he was the first person to wave to me. After a few days, we met and spoke
in person, and we both realized we share many of the same interests. From there,
we would take time to talk whenever we saw one another. One day he told me that
he wanted to start a men’s Bible study group with his best friend Ben, whom I had
not yet met, and I. It was then I started to consider Phillip a good guy to know.

       Jumping forward to 2016, Phillip, Ben and I are like brothers. Around
Thanksgiving 2016, my dad had a stroke in his home and later went blind in the
hospital. I blamed myself for this happening, since I was his caretaker. So the night
before Thanksgiving was our weekly men’s Bible study at Phillip’s home. I sat at the
table with Phillip, Ben, and my father-in-law Gene explaining why I felt guilty and
could not control my guilt and anxiety. So Phillip, as the leader of the group and my
best friend, stepped up to help. The most clear memory I have of that night was
when he said to me that I was spiritually under attack. He opened his Bible and
read out loud Joshua 1:9 to calm me down.

      I fell into a deep depression for the following few weeks. He checked on me
every day, invited me to come next door whenever I was home alone, even paid for
my doctor visit and medicines. So once I realized he was correct--that my dad’s
medical condition wasn’t my fault--I started to feel better and I considered Phillip
more than a friend: he became like a brother to me.
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 46 of 62




       In 2017, the three of us decided to team up for an obstacle course race,
trained together for months, and helped one another finish the race as a
brotherhood. I say all of this because Phillip went out of his way to become a great
neighbor, friend, and brother. He invited my wife and I into their family when we
didn’t know anyone else in the neighborhood. He never gave up on me in my darkest
time and was always available if I just needed to have someone to talk to. In return,
I have done my best to reciprocate when he needs someone to talk to while he is
going through a difficult situation himself.

      We meet every Monday for our Men’s Group and at Church to support him. I
have personally witnessed Phillip spending the meantime becoming an even better
man, husband, and father.

      His attorney thought my writing to you might help the outcome of his case.

       Judge, Phillip Bromley is a devoted father, husband, teacher, boss, a great
friend, and generally the kind of person you would want to live next door to in good
times or in a crisis. He is respected in his line of work and has been for years. He
served his country as a medic in the military and cares for this country and his
family. He knows how to save lives, physically and spiritually, whether it was
during his time in the military, as a CRNA in hospitals, or as a friend to go to for
advice. I hope this letter helps anyone who is interested, understand the kind of
man Phillip Bromley is and that he is worth giving a second chance.

       Phillip has a wife and young son who rely on him. I do not believe time in
prison would do anything for society aside from create hardship for his family. He
has repeatedly expressed how sorry he is, and so does not require further
punishment to impress a lesson upon him. Please consider him for leniency and
mercy.

      Thank you very much for your time.


             Michael D. Mason
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 47 of 62
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 48 of 62




The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012

333 Constitution Avenue, N.W.
Washington, D.C. 20001

             Re: United States v. Phillip Bromley
                  Case No. 1:2021cr00250




April 13, 2021



Dear Judge Friedman:

I first met Phillip Bromley around 2009 when he was a graduate student in nurse
anesthesia. I had the opportunity to serve as one of his clinical preceptors and was
immediately impressed with him. To date, I have not worked with a more excellent
student.
Needless to say, I was thrilled when, in 2010, he came to work at my facility. Over
the years, Phillip became a trusted colleague and confidante. Time and again I
witnessed Phillip’s compassion for patients and coworkers. In 2018, Phillip was
promoted to the role of Chief Nurse Anesthetist. I found his actions to always be
fair, equitable and honorable in this role. I have always found Phillip to be a person
of the highest moral and ethical standards.
On a more personal note, I know that Phillip has a young son who needs him to
remain at home. Phillip is also the only child of aging parents who he helps to care
for. Removing Phillip from his family and community would result in hardship and
loss for them. I hope that you will consider Phillip’s circumstances with leniency
and compassion.

Sincerely,
Ginger Green Osborne
          Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 49 of 62



The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

                                   Re: United States v. Phillip Bromley
                                        Case No. 1:2021cr00250

Dear Judge Friedman:

       I am writing this letter to you in support of Phillip Bromley who is coming before you for
sentencing in the near future. I had the pleasure of working closely with Phillip for the last 5
years at Princeton Baptist Medical Center in Birmingham, AL. I am a board certified
anesthesiologist with Southern Anesthesia Management and I was Phillip’s employer during this
time period.

         I hope by writing you this letter that I may convey how I have come to know Phillip as a
man of honorable and selfless character. Phillip and I have personally taken care of thousands
of critically ill patients in the most medically underserved and impoverished area of Birmingham.
I have witnessed his compassion, kindness and commitment to his patients in the most stressful
and daunting situations. His dedication to protecting his patients and in supporting his
colleagues is beyond reproach. Phillip’s remarkable character led him to be appointed as the
chief nurse anesthetist of our division as well as the head clinical instructor responsible for
training future nurse anesthesia students. One of his greatest qualities is his strong sense of
duty and honor which I believe he derives from his exemplary military service as well as his
unwavering Christian faith. In summary, I have come to know Phillip as a selfless protector and
I would take comfort to see him watching over me or my family in a time of need.

        Judge, I am aware of the charges of which Phillip is facing and I hope that you may
consider this letter and his untarnished record as testaments to his remarkable character. I
know that Phillip feels great remorse for his misguided actions and is working to rectify his
mistakes. I do not believe it would benefit society to levy an excessive punishment or
incarceration upon Phillip and I hope you may consider some leniency in his sentencing. I
know that as a man of strong Christian faith that Phillip will strive for redemption in the eyes of
both his higher power and his family. Phillip is a loving and devoted father and husband and I
pray that he continues to have the ability to provide and support his family. I would welcome the
opportunity to discuss this matter in detail. I hope this letter will clearly convey my knowledge
and respect of Phillips moral and ethical standing and may grant some consideration of leniency
in his case.

Sincerely,
Arpan J. Patel, M.D.
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 50 of 62
         Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 51 of 62



Your Honor,
    First of all, thank you for giving a portion of your valuable time to this letter of character on behalf of
Phillip Bromley.
My name is Ralph Owens Norsworthy II. I am Mr. Bromley’s Father-in-law and I must say I am very proud
of the way he has conducted his life.
Phillip is a proud son, father, husband, and leader. He was the Chief of CRNAs at Princeton Hospital and
very well thought of by all his colleagues.
    I believe Phillip is of exemplary character in part because he is in no way trying to avoid his
responsibility in this matter. And also because
never once has he ever failed to follow through with a promise or task given to him. He is a veteran and
a proud patriot.
Phillip loves America and would never do anything to harm our freedom, our way of life and the free
speech which is guaranteed by the
2nd amendment of our Constitution.
    Your Honor, Phillip was in our Capitol not to cause harm, but to show support and to defend all our
rights under the Constitution.
Phillip is a good man and I'm asking for your consideration of leniency in this matter.

Thanking you in advance,
Ralph O. Norsworthy II
                  Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 52 of 62
                                                        April 14, 2021



The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington D.C. 20001

Dear Judge Friedman,

          I have known Phillip Bromley for approximately 10 years in a professional capacity. I have been in practice in
Otolaryngology in Birmingham, AL for 30 years. During that time, I have been involved in hundreds of surgical
procedures in which Phillip was the CRNA (Certified Registered Nurse Anesthetist). In all this time, I can truly say that I
have never had a finer CRNA. Professionally, Phillip performs at the highest possible level. He has saved many lives as a
result of his abilities and knowledge. I have observed him many times coming in to assist the anesthesia team in a time
of crisis when he could have been at home with his family or doing leisure activities. His dedication to patients is
unquestioned.

        While I do not agree with the actions taken by Phillip on January 6, 2021, I know beyond a doubt that Phillip
undertook these actions because he felt they were in the best interest of this country. I also know that Phillip would
never willingly hurt another person. As you undoubtedly know, Phillip is a veteran who was deployed and served his
country with distinction on foreign soil. He also has a son who is currently serving his country on foreign soil. Phillip is
passionate about his beliefs and is an exemplary husband and father.

        Over the years, Phillip has been involved in the process of educating CRNA students. As I am performing
surgery, I often listen as Phillip teaches the student that are assigned to him. I am always impressed by his knowledge
and his ability to impart this knowledge to his students. He is a kind, patient, and effective instructor. He has
contributed to the education of hundreds of excellent CRNAs throughout the southeast and the entire country.

        How many people can truly say that they have saved a life? Through the years, I have seen Phillip save many. I
know that he is responsible for aiding, caring for, and saving the lives of many of our veterans also. He has also seen too
many of our service men and women die. I cannot profess to know all the motivations behind Phillip’s actions on
January 6, 2021, but I have to believe that his experiences in this regard certainly played a large part. I know beyond a
shadow of a doubt that Phillip loves his country passionately. He is perhaps the most patriotic person I know. While I
am not a veteran, my father was combat veteran along with many other members of my family. They all share the
quality of an extreme love of and appreciation for this nation. I assume this is a result of giving a portion of your life to
defend this nation on foreign soil. While I do not condone Phillip’s actions on January 6, I do know Phillip’s heart, and I
can say that there is none better.


Sincerely,



Randall L. Real, M.D.
Chairman, Department of Otolaryngology/Head and Neck Surgery
Brookwood Baptist Medical Center Princeton
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 53 of 62
         Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 54 of 62



Scott Smith, CRNA
205 Gusty Lane
Gardendale, AL 35071


April 20, 2021


The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

To: The Honorable Judge Friedman,

I have had the honor of knowing Phillip Bromley for 14 years. During the years of our friendship, I have
known Phillip in many capacities. Phillip was my classmate during our time in the Nurse Anesthesia
Master’s Degree program at The University of Alabama at Birmingham. He became my co-worker when
we both accepted positions as a Certified Registered Nurse Anesthetist (CRNA) at Princeton Baptist
Medical Center in Birmingham, Alabama. Phillip climbed the ranks within our department, first
becoming Clinical Instructor to nurse anesthesia students and then advancing on to be my supervisor
when he was promoted to Chief CRNA at Princeton Baptist Medical Center. In the 14 years I have
known him, Phillip consistently demonstrates a genuine love for people, generosity, kindness, and a
desire to invest himself in others. His faith in God guides his moral compass.

I have known many people over the years, but few have had the kindness and generosity that Phillip
does. He loves people and seeks ways to help ease the burdens others face. Phillip routinely
volunteered to work beyond his shift in order to let another coworker leave to attend family functions.
On one such occasion, Phillip offered to stay late for me so that I could attend my son’s first baseball
game. Also, his kindness shines through when he volunteers his time to guide young children on
exploring the great outdoors. Phillip loves nature and was especially helpful to me when my son wanted
to go hunting for the first time.

As coworkers, I have had the opportunity on numerous occasions to witness Phillip in his interactions
with CRNA students. He exhibits patience and the ability to explain and demonstrate anesthesia
strategy clearly, thus instilling understanding and confidence in the students he mentors. His desire to
invest his knowledge and experience in others has far-reaching benefit to the medical community.
Phillip cares deeply for his patients, and frequently I have seen him praying with them before inducing
anesthesia.

I’ve never seen Phillip as proud as when he talks about his family, especially his two sons. One son is
currently serving our country in the Navy and the other is just four years old. My own father died when
         Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 55 of 62



I was a baby, therefore I know how important it is for Phillip to be home and active in his young son’s
life. I missed out on seeing my father cheer for me at my first baseball game. I missed out on seeing my
father lead and guide our family through difficult decisions. I missed out on having my father teach me
how to mow the grass and change a flat tire. The best place for Phillip to be is at home with his family.

Phillip is an outstanding member of society, an invaluable asset to the medical community, and
irreplaceable at home. While his conduct related to this case was uncharacteristic, I can say without
reservation, Phillip acknowledges his mistakes and is deeply remorseful for his actions. This experience
has changed Phillip and helped remind him what is most important in life, his relationship with God and
his relationship with his family. If I can be of any further assistance, please contact me at
scottsmith2010@gmail.com or 205-616-3609.

Sincerely,


Scott Smith
         Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 56 of 62




Steven M. Blackwell, MD
Russell Medical Center
3316 US-280E
Alexander City, AL 35010

April 8, 2022

Re: United States v. Phillip Bromley
    Case No. 1:2021cr00250

To The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

Dear Judge Friedman,

Phillip Bromley, CRNA, is a current employee in good standing with our anesthesiology group,
Anesthesiology Services of Birmingham (Alabama), PC. Mr. Bromley has been working for us
since July 2021, and has become a vital, and frankly, an irreplaceable member of our
work/professional family. Our anesthesiology group, although based in Birmingham, covers a
small community hospital, Russell Medical Center, in Alexander City, Alabama. We are an
extremely busy group with five CRNAs who are employed by us and help us cover the myriad of
surgeries, procedures and critical care cases we conduct daily in this small rural community.

Mr. Bromley demonstrates an outstanding and compassionate bedside manner, treating all our
patients with deep respect and excellent clinical skill. Mr. Bromley’s clinical duties include but
are not limited to anesthetizing patients for surgeries and procedures and caring for these patients
during the perioperative period, a critical time for patients undergoing surgeries. He also assists
us with emergencies among patients in the ICU, O.R., and emergency department, as well as the
care of obstetric anesthesia cases which are usually caesarian section cases. Phillip also works
very well with our surgical staff, is always friendly and compulsively professional with everyone
he works with daily. He has become a loved member of our work and professional family.

Without Phillip, we could not care for our population of patients here at Russell Medical Center,
and in fact, would have to close one of the operating room suites which would be a significant
burden for our community of patients; I pray these truths will assist you in his case disposition.

Respectfully,


Steven Blackwell, MD
251-391-5966
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 57 of 62
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 58 of 62
        Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 59 of 62



                                       Veronica Sherrod
                                        April 12, 2021

The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N. W.
Washington, D. C. 20001

               Re: United States v. Phillip Bromley
                     Case No. 1:2021cr00250

Dear Judge Friedman:

        It is my understanding that Phillip Bromley will be coming before you in the near
future for sentencing. I do not know much about the case, but am praying for this letter to be
of some benefit in the overall disposition of his case.

       My intentions are not to write this in support of any of anything that may have
transpired on January 6th, 2021, but more as a witness to the character of Phillip. I have known
Phillip for three years as a friend and co-worker at Brookwood Baptist Princeton Hospital.
Phillip is one of the kindest people I know and is an amazing man of integrity. He is very
positive and encouraging to our staff. He is constantly asking how I am doing and asking if I
need help with anything.

        Phillip has served as a co-chief over our nurse anesthetists for over two years, managing
a team of twenty nurses. He is a great leader and has the respect of the doctors and hospital
staff he works with in all departments. He is a wonderful husband and father and really needs
to be home to support his family. It is my hope and prayer that the court will show mercy to
this great man!

       Thanks for taking the time to read this letter and please feel free to contact me with any
questions.


Sincerely,

Veronica Sherrod

Veronica Sherrod
205-229-9148
Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 60 of 62
       Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 61 of 62




                                Benjamin Williams

                                      4/18/2021

The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
William B. Bryant Annex
Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

             Re:    United States v. Phillip Bromley
                    Case No.   1:2021cr00250

Dear Judge Friedman:

      I understand Phillip Bromley will be coming before you soon for sentencing. I
hope that you will accept this letter from me to attest to Philip’s character.

       I have known Phillip for over 10 years. Our wives introduced us, and we have
been close friends ever since. I have always known Phillip to be dependable, honest,
courteous, responsible and always willing to step up to help others. We have attended
the same church during this time and led/co-led a men’s bible study small group
together for several years. I watched him grow as a leader and understand that he
led a bible study small group with some of his work associates as well. Phillip served
on the volunteer church team to provide first aid when needed. Phillip always had a
passion for helping others in need and I think that he has proven that in his life
professionally and personally. He has always shown a love for his country and hoped
that his son would serve in the military. I watched him raise his son, Mitchell, who
is now serving his country in the Navy and in the medical field. I truly believe that
Phillip’s love of his country and his passion to help and heal people was transferred
to his son and that legacy is being lived out today.

        His attorney thought that writing to you may benefit Phillip in the disposition
of his case.

       Judge, Phillip Bromley is worth saving. I strongly believe that there would be
no benefit to society in having him incarcerated for any length of time under his
circumstances. He wants and needs to provide support for his wife and young son. I
have personally witnessed how truly sorry he is that any of this happened. I do not
believe that he needs any kind of rehabilitation or excessive punishment. I trust that
you will witness Phillip’s character during these proceeding and hope that you will
consider leniency and mercy for Phillip and his family.
 Case 1:21-cr-00250-PLF Document 60 Filed 06/03/22 Page 62 of 62




Thank you for your consideration.


      Benjamin Williams
